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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

STUDENTS FOR JUSTICE IN
PALESTINE, AT THE UNIVERSITY OF
HOUSTON et al.,

        Plaintiffs,

v.                                             Case No. 1:24-cv-00523

GREG ABBOTT et al.,

        Defendants.
                                         /

        BRIEF OF MIDDLE EAST FORUM AS AMICUS CURIAE IN SUPPORT OF
               DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION
                      FOR A PRELIMINARY INJUNCTION




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                         CORPORATE DISCLOSURE STATEMENT

        Counsel for amicus curiae, Middle East Forum (MEF), certifies that amicus curiae has no

parent corporation and no publicly held corporation owns 10% or more of any stock in MEF.




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                                   INTEREST OF AMICUS

        MEF is a think tank that promotes American interests in the Middle East and works to

protect Western values from Middle Eastern foreign threats. One of MEF’s projects, Campus

Watch, is focused, among other things on reviewing and critiquing the intellectual roots of bias in

Middle East studies programs on American college campuses. MEF’s Islamist Watch Project

exposes the impact of domestic lawful Islamist networks, in part by tracking outside hostile and

terrorist forces seeking to infiltrate and influence domestic institutions and organizations,

including schools and universities. The proper resolution of this case is a matter of utmost concern

to MEF because it touches on not only MEF’s core mission, but its aims as they relate to

universities and society at large. Given MEF’s expertise as stated above, the focus of this Amicus

Brief is limited to providing the Court with a more comprehensive understanding of why Executive

Order No. GA-44 (“Executive Order”) is necessary, appropriate, and the least restrictive means

of serving a compelling government interest: protecting public universities from outside forces,

including terrorist organizations and nation-state proxies, that misuse school and community

organizations to foment chaos and hijack institutions, promoting anti-Semitic activity under the

misapplied cloak of the First Amendment. By enacting GA-44, Texas has sought to adopt a

uniform definition of anti-Semitism, and thereby to strengthen its ability to protect its Jewish

students from anti-Semitism, via an established definition that can serve as a guidepost to prevent

inappropriate discrimination in violation of Title VI of the Civil Rights Act of 1964, 42 U.S.C. §

2000d et seq.




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                                                ARGUMENT

        1.       Students for Justice in Palestine (SJP) is a network of anti-Israel student

organizations across the United States. SJP’s reach has grown considerably since its establishment

over 20 years ago, after additional branches were established in dozens of universities in the 2000s.

In 2010, SJP launched a national coordinating body, named the National Students for Justice in

Palestine (NSJP), which later secured 501(c) status.1 The formation of NSJP was the result of a

conference organized by American Muslims for Palestine and the U.S. Palestinian Community

Network,2 along with several other activist organizations.3

        2.       A more formalized system appeared to help with SJP’s expansion. Today, the

network comprises branches in almost 200 college campuses across the United States. These

branches operate under a variety of names, using both the SJP label as well as names such as the

Palestine Solidarity Committee. These SJP chapters are believed to be under the direct control of

NSJP. At the very least, there is broad coordination between NSJP and SJP Chapters. There also

likely is coordination with other organizations belonging to certain Islamist whose interests are not

to promote the ideas of moderate Islam, but rather to foment chaos and hijack colleges and

universities by creating an atmosphere of hostility, intimidation and other anti-Semitic conduct in

violation of Title VI of the Civile Rights Act of 1964.

        3.       One of SJP’s most prominent and dangerous partners is American Muslims for

Palestine (AMP). Not only do SJP and AMP share officials, but, as the Forward points out, “SJP


1
  Students for Justice in Palestine National Convention 2010, June 23, 2010.
https://web.archive.org/web/20101120221537/http://ussf.palestineconference.org/sjp-national-conference/
2
  USPN Letter about the US Social Forum, USSF Website, 2010.
https://web.archive.org/web/20120314231916/http://ussf.palestineconference.org/uploads/fundraising-letter.pdf
3
  Parizer v. AJP Educational Foundation, Inc., No. 1:24-cv-00725-RDA-IDD, [Doc. 24, ¶ 60-63] (E.D. Va. July 9,
2024) (Parizer v. AMP); Charles Asher Small et al., Antisemitic Violent Extremism and the Threat to North
American Universities: The Contextualization of the National Students for Justice in Palestine, Institute for the
Study of Global Antisemitism and Policy, at 12 (Oct. 2019).
https://isgap.org/wp-content/uploads/2019/10/NSJP-2019-ISGAP-Report-Long-Version.pdf.

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campus chapters are encouraged to reach out to American Muslims for Palestine (AMP) to trade

strategies and get non-students to attend student government meetings about divestment.”4 AMP

also provides funding to foment campus chaos. As noted by Jonathan Schanzer of the Foundation

for Defense of Democracies, photographs on social media reveal AMP officials having no

affiliation or ties to particular universities handing checks to various SJP chapters.5

        4.       Hatem Bazian founded the inaugural SJP branch at the University of California,

Berkeley, in 2001. Bazian is also a co-founder of AMP, which media and legislators have long

accused of serving as the chief pro-Hamas voice in the United States.6 AMP, which also operates

under the name AJP Educational Foundation, and operates a 501(c)(4) organization named AJP

Action, is widely and credibly believed to serve as successor to the Islamic Association of

Palestine, a now defunct organization implicated in a major Hamas fundraising network uncovered

by the notorious 2007 Holy Land Foundation terrorism trial.7

        5.       The Anti-Defamation League (ADL) explains: “AMP has its organizational roots

in the Islamic Association of Palestine (IAP), an anti-Semitic group that served as the main

propaganda arm for Hamas in the United States until it was dissolved in 2004. Since its creation

in 2005, AMP continues to work closely with some former IAP leaders who currently hold

positions as AMP board members.”8




4
  Max Samarov, “Students For Justice In Palestine Relies On A Network Of Hate,” The Forward, January 30, 2018.
https://forward.com/community/393199/students-for-justice-in-palestine-relies-on-a-network-of-hate/
5
  Jonathan Schanzer Twitter Post, May 5, 2024. https://twitter.com/JSchanzer/status/1787117408831901984
6
  Parizer v. AMP, ¶ 42-43; “Comer Presses American Muslims for Palestine to Produce Requested Information
Related to the Funding of Illegal, Pro-Hamas Activities,” Committee on Oversight, U.S. Congress, June 24, 2024.
https://oversight.house.gov/release/comer-presses-american-muslims-for-palestine-to-produce-requested-
information-related-to-the-funding-of-illegal-pro-hamas-activities-%EF%BF%BC/
7
  Jonathan Schanzer, “From Ivory Towers to Dark Corners: Investigating the Nexus Between Antisemitism, Tax-
Exempt Universities, and Terror Financing,” Ways and Means Committee Testimony, November 15, 2023.
https://gop-waysandmeans.house.gov/wp-content/uploads/2023/11/Schanzer-Testimony.pdf
8
  “Students for Justice in Palestine (SJP),” Anti-Defamation League, October 19, 2023.
https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp; see also Parizer v. AMP, ¶ 19-63.

                                                       3
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        6.       National Students for Justice in Palestine (NSJP) is not solely under the influence

of AMP, however. Indeed, the NSJP appears closely tied to several other organizations from

separate but ideologically related ideological networks whose agenda crosses beyond protectible

free speech and into the realm of anti-Semitism.

        7.       The Westchester Peace Action Committee (WESPAC) Foundation, for instance,

serves as the fiscal sponsor for NSJP (as well as other radical activist organizations).9 See

Appendix I. WESPAC is not just financier, but also conducts activism efforts, campaigning for

terrorists convicted in Israel; and, after October 7, publishing justification for the massacre

perpetrated by an organization (Hamas) branded by the United States as a terrorist organization,

suggesting as a basis the “context” of Israeli “apartheid.”10

        8.       On campus, NSJP also encourages various “Palestine solidarity” organizations to

solicit support not solely from NSJP, but from the “Campus Support Coalition,” a “collective of

organizations supporting students fighting for Palestinian liberation on university campuses.” The

CSC offers “many types of support: whether you’re just starting a chapter and need resources, are

facing campus backlash, or need campaign materials, we’re here to help.”11

        9.       A full list of members of the Campus Support Coalition is not available. But both

NSJP and another organization, Palestine Legal, publicly state their involvement.12 Palestine Legal

is funded by the Tides Foundation, a prominent financier of anti-Israel activism.




9
  Parizer v. AMP, ¶ 53-59.
10
   WESPAC (Westchester Peace Action Committee Foundation), NGO Monitor, January 7, 2024. https://www.ngo-
monitor.org/ngos/wespac_foundation/
11
   “Campus Support Coalition,” National Students for Justice in Palestine. https://nationalsjp.org/support
12
   “The Lobby USA: Campus Cut,” Palestine Legal. https://palestinelegal.org/the-lobby

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        10.      A review by the Middle East Forum of recent national anti-Israel conferences and

a survey of other organizations at SJP-established “encampments” after October 7 indicates

consistent collaboration with multiple other national organizations, including but not limited to:

                 a.       Palestinian Youth Movement
                 b.       U.S. Campaign for Palestinian Rights
                 c.       Al-Awda
                 d.       Jewish Voice for Peace
                 e.       ANSWER Coalition
                 f.       Party for Socialism and Liberation
                 g.       The U.S. Palestinian Community Network
                 h.       Democratic Socialists of American
                 i.       Within Our Lifetime

        11.      WESPAC also finances several of these groups. See Appendix I. These

organizations may be members of the Campus Support Coalition or, at the very least, all of these

organizations (or their local branches) coordinate closely with SJP branches at campuses across

the country.13

        12.      As noted in multiple studies of SJP and its allies,14 these organizations also enjoy

financial links and collaboration with dozens of other radical activist groups and community

foundations, all emerging from multiple radical Islamist networks, as well as networks with foreign

links. The funding they receive is not consistent with appropriate and typical student activism.

Rather, it is funneled into SJP and its allies as part of a concerted effort to use college campuses

as a breeding ground for anti-Semitic indoctrination and activism of the precise type sought to be

better regulated by GA-44.




13
  People’s Conference on Palestine website. https://peoplesconferenceforpalestine.org/
14
  National Students for Justice in Palestine (NSJP), Institute for the Study of Global Anti-Semitism & Policy, 2024.
https://isgap.org/wp-content/uploads/2024/05/Student_Justice_Palestine_Report.pdf

                                                         5
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I.      Pro-Terror Activity Post-October 7th

        13.      Since October 7, SJP and its partners at encampments on campuses across America

have expressed and supported violent anti-Semitic ideas and rhetoric. The Institute for the Study

of Global Anti-Semitism & Policy notes:

        Since October 7, more SJP rallies and rhetoric actually call for and justify the
        violence, mutilation, and rape of “colonialist settlers” of Palestinian land, and
        blame the violence on their presence, which necessitates “resistance” by any means
        necessary. Some SJP chapters have declared their support for terrorist groups such
        as Hamas and openly call for the dismantling of Israel as the homeland of the Jewish
        people. In fact, the SJP Toolkit, released after October 7, 2023, SJP openly declared
        themselves to be part of the “movement” (which refers to Hamas’ October 7
        attacks), and not just supporters.15

        14.      Similarly, the Anti-Defamation League reveals:

        In the days following Hamas’s October 7, 2023, invasion of Israel, the national
        leadership of Students for Justice in Palestine (SJP) and many of the organization’s
        campus chapters explicitly endorsed the actions of Hamas and their armed attacks
        on Israeli civilians and voiced an increasingly radical call for confronting and
        ‘dismantling’ Zionism on U.S. college campuses. Some SJP chapters issued pro-
        Hamas messaging and/or promoted violent anti-Israel messaging channels.

Some SJP chapters, the ADL adds, even shared clips from Hamas’s broadcasts of the October 7

pogrom.16

        15.      Popular imagery at SJP protests and encampments have included paragliders,

which Hamas used to attack Israeli civilians;17 as well as an inverted red triangle, a provocative

symbol used to indicate support for violence against Israeli military targets. As noted by the ADL,

the inverted triangle derives from “propaganda videos promoted by the al-Qassam brigades, the




15
   National Students for Justice in Palestine (NSJP), Institute for the Study of Global Anti-Semitism & Policy, 2024.
https://isgap.org/wp-content/uploads/2024/05/Student_Justice_Palestine_Report.pdf
16
   “Students for Justice in Palestine (SJP),” Anti-Defamation League, October 19, 2023.
https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp
17
   Maggie Hicks, “Pro-Palestinian Student Groups’ Use of This Image Is Drawing Outrage. Here’s Where It Came
From,” Chronicle of Higher Education, October 11, 2023. https://www.chronicle.com/article/pro-palestinian-student-
groups-use-of-this-image-is-drawing-outrage-heres-where-it-came-from

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military wing of Hamas, which showed footage of Hamas terrorists attacking Israeli military

targets indicated with an inverted red triangle.”18

II.     Texas-Specific Activity

        16.       At the University of Texas (UT Texas) and University of Houston, such violent

imagery and radical activism has been evident. Students have reported violent anti-Jewish rhetoric,

including death threats.19 And police at UT Austin reportedly found weapons and literature quoting

terrorist groups such as Palestinian Islamic Jihad, as well as violent anti-Jewish incitement.20




              A Washington D.C. protest backed and attended by Texas anti-Israel organizations,
              including SJP, featured Hamas symbols and of a mock severed head of President Biden.




18
   “Inverted Red Triangle,” ADL. https://extremismterms.adl.org/glossary/inverted-red-triangle
19
   “‘If Hamas does not kill you, we will’: Jewish students at UT-Dallas say they’ve dealt with increased antisemitism
since start of the Israel-Hamas war,” WFAA, May 8, 2024. https://www.wfaa.com/article/news/local/if-hamas-does-
not-kill-you-we-will-jewish-students-utd-say-theyve-dealt-with-increased-antisemitism-since-start-of-israelhamas-
war/287-d85aaab1-57a7-42c8-ac7a-293458faa0c6
20
    “University of Texas anti-Israel encampment sees Hamas propaganda, weapons,” Fox News, May 8, 2024.
https://www.foxnews.com/us/university-texas-anti-israel-encampment-hamas-propaganda-weapons

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        17.      On May 19, 2024 local SJP branches helped plan a protest at the Texas State

Capitol, advertised as a “Nakba Day” that promised “resistance until return,” with posters for the

event featuring a masked Palestinian man holding a slingshot weapon.21 The protest was organized

by members of the Campus Support Coalition in collaboration with local SJP branches; as well as

local branches of national Islamist organizations such as the Council on American-Islamic

Relations, the Muslim American Society and the Islamic Circle of North America.22

        18.      A social media post by the National SJP movement, tagging UT Austin’s Palestine

Solidarity Committee (an SJP branch), declares “Fuck the police” and “Globalize the Student

Intifada.”23 Meanwhile, UT Dallas’s SJP branch has expressed support for Houthi terrorists in

Yemen,24 and, alongside groups such as the Palestinian Youth Movement, echoes Hamas rhetoric

by calling for “support” for the “resistance,” “glory to our martyrs” and “power to our people in

Gaza.”25

        19.      UT Dallas’s SJP appears not only to promote its agenda that encourages anti-

Semitism on campus, but does so by suggesting it is a part of a broader anti-Western and anti-

American ideal, with social media posts declaring “Never forget that we are fighting for the

liberation of not just the Palestinians but colonized peoples across the world — the indigenous

peoples whose land was stolen by America, the Black liberation movements, the Kashmiri people,

the people of Sudan, the people of Congo, and many more.”26 Organizations supporting the campus


21
   Nakba Day Poster, Palestinian Youth Movement, Instagram Post, May 3, 2024.
https://www.instagram.com/palestinianyouthmovement/p/C6gvUSGgIm_/?img_index=1
22
   All three of these Islamist organizations have documented ties to designated terrorist organizations and violent
foreign extremist movements. See Sam Westrop, “A Guide to Lawful Islamism in the United States,” Focus on
Western Islamism, February 1, 2022. https://islamism.news/research/in-depth-analysis/a-guide-to-lawful-islamism-
in-the-united-states/
23
   Instagram Post, NSJP, May 1, 2024. https://www.instagram.com/p/C6bdJDDu_F3/?hl=en%22
24
   Instagram Post, SJP UT-Dallas, January 14, 2024. https://www.instagram.com/sjputd/p/C2G41CxNqVj
25
   Instagram Post, Palestinian Youth Movement Dallas, May 27, 2024. https://www.instagram.com/p/C7fa00jJ_Ym/
26
   Instagram Post, SJP UT-Dallas, December 20, 2023.
https://www.instagram.com/sjputd/p/C1F3MtipMpx/?img_index=1

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protests, such as Austin Palestine Coalition and Texas for Palestine, attempt to draw parallels

between the “colonization” of America and the behavior of the Israeli state, arguing both

Americans and Israelis share a desire for “Genocide. Land theft. Ethnic cleansing. … Just as we

fight and organize to reclaim land on Turtle Island (a term for the North America continent,

employed by self-described “indigenous rights activists”) our Palestinian relatives fight and

organize to return the land and for the land to return to the people.”27

III.    Hostile Foreign Links to Texas Encampments

        20.     Along with the alleged Hamas links to American Muslims for Palestine, multiple

local and national organizations involved in establishing and supporting the encampments in Texas

universities maintain links with foreign hostile movements and states.

        21.     Alongside the SJP network, one of the most prominent collections of groups

supporting protests and disruptions is linked to the Chinese government. Organizations such as the

ANSWER Coalition, Party for Socialism and Liberation, People’s Forum, and others have been

identified by both mainstream media and thinktank studies to be part of the “Singham Network …

a global web of nonprofits, fiscal sponsors, and alternative news sources tied to Neville Roy

Singham, a known conduit for [Chinese Communist Party] geopolitical influence.”28

        22.     Singham’s Party for Socialism and Liberation were particularly active in building

encampments at the University of Texas and University of Houston. 29 For these organizations,

anti-Semitism and intimidation of Jewish students may not be their primary purpose but has




27
   Instagram Post, Texas for Palestine, July 4, 2024.
https://www.instagram.com/texasforpalestine/p/C9A6_JnpNaG/?img_index=1
28
   “Contagious Disruption: How CCP Influence and Radical Ideologies Threaten Critical Infrastructure and
Campuses Across the United States,” Network Contagion Research Institute, May 2024.
https://networkcontagion.us/wp-content/uploads/SID4P-Report_May-2024.pdf
29
   Instagram Post, Houston PSL, May 8, 2024. https://www.instagram.com/p/C6tQLQngcMH/ ; Instagram Post PSL
DFW, May 1, 2024. https://www.instagram.com/p/C6cI1eSvkFV/?hl=en

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become a byproduct of their activities on college campuses, crying out for protection by laws such

as GA-44.

        23.      Two other organizations persistently involved with fomenting, instigating and

funding campus protests around the country, Al-Awda and Palestinian Youth Movement, were

particularly prevalent in Texas encampments.30 Al-Awda officials have openly embraced

convicted terrorists.31 Its founder, Abbas Hamideh, is openly anti-Semitic and supportive of terror

attacks against Israelis;32 as well as a leading American supporter of the designated terrorist

organization Hezbollah.33 The Palestinian Youth Movement (PYM) is closely involved with the

Popular Front for the Liberation of Palestine (PFLP), a designated terrorist organization.34

        24.      In May 2024, PYM, Al-Awda, NSJP, and Singham network groups organized the

People’s Conference on Palestine, at which terrorists from the PFLP and Palestinian Islamic Jihad

were openly lionized.35 At the conference, a Singham network media institution, the Peoples

Dispatch, interviewed a UT Dallas encampment organizer and SJP official named Mousa Najjar.36

Meanwhile, speakers at the terror conference included Nidaa Lafi, described as “an organizer with

the Palestinian Youth Movement and a former officer with the Students for Justice in Palestine at

UT Dallas.”37


30
   Instagram Page, Al Awda Houston. https://www.instagram.com/alawdahouston/; Instagram Page, PYM Dallas.
https://www.instagram.com/pymdallas/
31
   Lahav Harkov, “Anti-AIPAC protest organizers Al-Awda have ties to terrorist groups, history of antisemitism,”
Jerusalem Post, March 5, 2019. https://www.jpost.com/international/anti-aipac-protest-organizers-al-awda-have-
ties-to-terrorist-groups-history-of-antisemitism-582402
32
   Abbas Hamideh, ADL, January 17, 2019. https://www.adl.org/resources/backgrounder/abbas-hamideh
33
   Twitter Post, Abbas Hamideh, May 25, 2020. https://twitter.com/Resistance48/status/1264968019773722626
34
   Palestinian Youth Movement, NGO Monitor, June 2, 2024. https://www.ngo-monitor.org/ngos/palestinian-youth-
movement/
35
   “‘Fight Until Victory’: Speakers & Guests Declare Full Support for Terrorism at “People’s Conference for
Palestine,” ADL, May 31, 2024. https://www.adl.org/resources/blog/fight-until-victory-speakers-guests-declare-full-
support-terrorism-peoples
36
   Natalia Marques, “The global “student intifada” at the People’s Conference for Palestine,” Peoples Dispatch, May
31, 2024. https://peoplesdispatch.org/2024/05/31/the-global-student-intifada-at-the-peoples-conference-for-
palestine/
37
   Speaker Bios, People’s Conference for Palestine, https://peoplesconferenceforpalestine.org/speaker-bios

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        25.     A number of Iranian regime proxies and supporters have been involved with the

University of Houston protests. Rise Against Oppression, which participated in the University of

Houston encampment,38 is an unabashed support of the Iranian regime. In June, Rise Against

Oppression organized the “Imam Khomeini Conference” in Houston, where topics included

“Imam Khomeini & the Palestinian Struggle” as well as “Imam Khomeini: A Role Model for the

Western Youth.”39 Rise Against Oppression is also involved with radical anti-Israel and anti-

Semitic activist efforts such as Shut it Down for Palestine, an initiative of the Singham network,

Al-Awda, Democratic Socialists of America, and others.40

        26.     Certain of the most problematic student protests have also enjoyed support from

the Muslim Congress,41 another Texas Shia Islamist organization, and a key Iranian regime voice

in the United States. Muslim Congress also works closely with the Palestinian Youth Movement,

as well as various organizations from the Singham network, such as the ANSWER Coalition and

the Party for Socialism and Liberation.

        27.     The Houston-based Muslim Congress hosts writings of Ayatollah Khamenei and

other regime clerics,42 and organizes the regime’s annual “Al-Quds Day,”43 an event in dozens of

cities around the world, conceived of and promoted by the Iranian regime, at which marching

crowds express support for Hezbollah, another organization designated by the United States as a



38
   Instagram Post, Rise Against Oppression, April 21, 2024.
https://www.instagram.com/p/C6CstwjJCj4/?hl=en&img_index=1
39
   Instagram Post, Rise Against Oppression, June 11, 2024. https://www.instagram.com/p/C8FmtXLummT/?hl=en
40
   Instagram Post, DSA Houston, April 12, 2024. https://www.instagram.com/p/C5rftIsvVkd/?hl=en&img_index=1
41
   Facebook Post, Muslim Congress, April 28, 2024.
https://www.facebook.com/MuslimCongress/posts/pfbid0ifTB82CY3ztBuLJyA2wSMU5xnXmehude12bb8cxnynJ4
Y5pzfDGJLcp2JygLty5Ul
42
   “The Letter of Ayatollah Khamenei to Youth in the West,” Muslim Congress, January 28, 2015.
https://web.archive.org/web/20230915000000*/https://muslimcongress.org/wp/the-letter-of-ayatollah-khamenei-to-
youth-in-the-west/
43
   Facebook Post, Sarah Syed, March 20, 2024.
https://www.facebook.com/cerafinah/posts/pfbid02x61Xfcogy8RAKTWQmgTgFZXczwt39DqdfQnyKTP8THbHv
1U4WYK6zFKoPJ4yLxvAl

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terrorist organization, and call for the eradication of Israel.44 In 2024, students from the University

of Houston’s SJP branch, alongside activists from the Palestinian Youth Movement, Rise Against

Oppression and other organizations,45 spoke at the Muslim Congress’s Al-Quds Day event in

Houston.46

        28.      At the University of Houston, the Shia Islamist student group, known as the Ahlul

Bayt Student Organization, has played a leading role in SJP’s protests and encampments. The

group is closely involved with the Islamic Education Center of Houston,47 another pro-Iranian

regime institution, at which regime propaganda songs are performed;48 and from which the Muslim

Congress was established.49 Branches of the Ahlul Bayt Student movement at University of

Texas’s Dallas and Austin campuses have also partnered with SJP.50

        29.      Sunni Islamist organizations have also expressed strong support for Texas

encampments. The Islamic Association of North Texas (IANT) emerged as a key outpost for such

support, hosting efforts in coordination with SJP aimed at providing assistance to arrested

protestors.51 Counter-terrorism analysts considered IANT in the 1990s to be “one of the most

active centers of Hamas activity in the United States.” Today, IANT is closely involved with the

Islamic Circle of North America (ICNA), with which it shares officials and runs joint events. ICNA


44
   “Iran Holds State-Sponsored Nationwide Anti-Israel Rallies,” Iran International, April 5, 2024.
https://www.iranintl.com/en/liveblog/iranian-holds-state-sponsored-nationwide-anti-israel-rallies
45
   Instagram Post, Rise Against Oppression, April 8, 2024. https://www.instagram.com/p/C5hMffou57q/?hl=en
46
   Instagram Post, Rise Against Oppression, April 8, 2024. https://www.instagram.com/p/C5hGkCuuMXk/?hl=en
47
   Search Results from Ahlul Bayt Student Organization Facebook Page.
https://www.facebook.com/profile/100064909262043/search/?q=IEC
48
   Dexter Van Zile, “Texas Mosque Enlists Children into Cult of Iranian Martyrdom,” Focus on Western Islamism,
July 29, 2022. https://islamism.news/news/texas-mosque-enlists-children-into-cult-of-iranian-martyrdom/
49
   Jason Brodsky and Moshe Kwiat, “The Rising Danger of Iranian Soft Power in the United States,” The Dispatch,
August 9, 2022. https://thedispatch.com/article/the-rising-danger-of-iranian-soft/
50
   Instagram Post, ABSA UT-Dallas, February 12, 2024.
https://www.instagram.com/p/C3RetyAuZyS/?img_index=1; Instagram Post, Texas ABSO, April 26, 2024.
https://www.instagram.com/p/C6Oj4UprlTv/
51
   Facebook Post, Islamic Association of North Texas, July 13, 2024.
https://www.facebook.com/IANTmasjid/posts/pfbid0XK24yKE6qaSpWsEFsTFfc7wNoJ5wpF8VQc7uW8pf2jvtZFj
EfdQbb9g39emhdUw6l

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serves as the U.S. branch of Jamaat-e-Islami, a violent South Asian Islamist movement.52 ICNA

bodies across America have also participated in the student encampments, including in Texas.53

        30.      The Council on American-Islamic Relations (CAIR) has also provided support and

speakers for the encampments across America. CAIR’s roots are in Hamas and the Muslim

Brotherhood. The group has evolved to advance Islamist and anti-Semitic ideological agendas.54

In Texas, such radicalism is apparent in local CAIR branches, which have supported the University

of Texas and Houston encampments. In 2021, CAIR’s chief Texas branch, along with other

encampment supporters such as the Muslim American Society, ICNA, and American Muslims for

Palestine, hosted an event for the convicted terrorist Aafia Siddiqui, a major “al Qaeda operative

and facilitator,” according to the federal government.55

IV.     Funding

        31.      There is little public evidence so far in Texas to indicate campus protestors were

directly financed by outside national organizations. Supplies and legal funds were initially solicited

through social media, using Venmo accounts and other donation platforms.56 However, SJP

branches have previously credited NSJP with providing “resources.”57

        32.      While direct funding for Texas student associations is not extensively apparent, the

key national organizations behind these branches and initiatives, such as Palestine Legal, Al-




52
   Sam Westrop, “A South Asian Threat in America,” Morning Consult, March 7, 2019.
https://morningconsult.com/opinions/a-south-asian-threat-in-america/
53
   Instagram Post, ICNA Houston, May 8, 2024. https://www.instagram.com/p/C6tLwIPMnG4/
54
   Sam Westrop, “A Guide to Lawful Islamism in the United States,” Focus on Western Islamism, February 1, 2022.
https://islamism.news/research/in-depth-analysis/a-guide-to-lawful-islamism-in-the-united-states/
55
   Sam Westrop, “Exploiting Progressivist Handwringing, Islamists Advocate for their Own,” National Review,
September 13, 2021. https://www.nationalreview.com/2021/09/islamists-exploit-western-progressives-hand-
wringing-to-support-their-own/
56
   Instagram Comment, SJP UT-Dallas, May 2, 2024.
https://www.instagram.com/p/C6d5YQlLFuw/c/18063301060483393/?hl=en
57
   Instagram Post, SJP Houston and SJP UT-Dallas, August 16, 2022.
https://www.instagram.com/sjphtx/p/ChVyL_Cu3Zw/?img_index=1

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Awda, American Muslims for Palestine and NSJP and PYM’s fiscal sponsor WESPAC, receive

millions of dollars through the 501c system. See Appendix I. Very little direct funding to NSJP or

SJP is apparent in 501c tax return data, however.

        33.      SJP branches,58 along with Sunni and Shia Islamists,59 have been particularly keen

on soliciting donations from students to Baitulmaal, an Irving, Texas charity long accused of ties

to terror. Indeed, Baitulmaal openly funds Hamas proxies in Gaza, such as the Yazour Charitable

Association, which Hamas media has confirmed is “affiliated” with the terrorist group; and the

Generosity Without Limit Association, whose officials include members of Hamas’s various

“Popular Resistance Committees.” Baitulmaal is run by Mazen Mokhtar, a former fundraiser for

the Taliban and other jihadist groups.60

        34.      SJP branches have also solicited donations for Islamic Relief, a global charitable

institution for the Ikhwan Al-Muslimeen, better known as the Muslim Brotherhood. In recent

years, European and Islamic governments have denounced the notoriously anti-Semitic Islamic

Relief because of the extremism of its officials and its long-reported history of close ties to Hamas

and the Muslim Brotherhood. The Egyptian, Emirati and Tunisian governments have accused

Islamic Relief of financing jihadists. Following a British media furor over Islamic Relief officials’

extremism, in 2020, the U.S. State Department warned about the “blatant and horrifying anti-




58
   Instagram Post, Texas MSA, February 26, 2024. https://www.instagram.com/p/C30bkbrAaju/?hl=en; Instagram
Post, Linktree, SJP Houston. https://linktr.ee/sjphouston
59
     Instagram Post, Ahlul Bayt Student Organization and SJP UT-Dallas, March 26, 2023.
https://www.instagram.com/p/CqR2YusufWX/
60
   Sam Westrop, “The U.S. Charitable Network That Subsidizes Hamas, and the Donors Behind It,” Focus on Western
Islamism, November 14, 2023. https://islamism.news/research/investigations/revealed-the-funding-behind-the-u-s-
charitable-network-that-subsidizes-hamas/

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Semitism and glorification of violence exhibited at the most senior levels of Islamic Relief

Worldwide.”61

                                             CONCLUSION

        35.      It is within the purview and the power of state government to regulate

discriminatory and harassing conduct, even if that conduct manifests itself as speech. See

Wisconsin v. Mitchell, 508 U.S. 476, 489 (1993). Executive Order No. GA-44 was enacted for

that very purpose; due to dangerous, ongoing and increasing instances of threats, intimidation and

anti-Semitic conduct on Texas public university campuses, in violation of Title VI of the Civil

Rights Act of 1964. By ordering that Texas institutions of higher education adopt the definition

of anti-Semitism promulgated by the International Holocaust Remembrance Alliance and adopted

by the State of Texas in Section 448.001 of the Texas Government Code, the state of Texas has

created a mechanism to protect First Amendment rights on campus, while simultaneously ensuring

the safety, security and proper anti-discriminatory freedom of expression of all students. There is

a line between unregulated freedom of expression and anti-Semitism that can be crossed. It is the

government’s role and function to ensure that line is protected. In light of the above, and given

the legitimate and recognized purpose of the definition of anti-Semitism as adopted by Executive

Order No. GA-44, it is the position of MEF that Plaintiffs’ Motion for Preliminary Injunction

should be denied, and their amended complaint dismissed.




61
   Sam Westrop, “Why has the Islamic Relief Franchise Lost the Support of Western Governments?,” Focus on
Western Islamism, September 25, 2023. https://islamism.news/research/investigations/why-has-the-islamic-relief-
franchise-lost-the-support-of-western-governments/

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    APPENDIX I: 990 FUNDING DATA FOR KEY SUPPORTERS OF ANTI-ISRAEL
                        ENCAMPMENT ORGANIZERS

Grantor            Grantor EIN   Tax    Grantee              Grant    Purpose of Grant
                                 Year                        Amount
FIREDOLL             943301999   2021   1109 PALESTINE        25000   PALESTINE LEGAL SUPPORT
FOUNDATION                              LEGAL - TIDES
                                        CENTER
Hope and Justice     451066280   2014   Al-Awda PPRC           1500   To provide financial support.
Educational
Foundation
NATL CHRISTIAN       581493949   2018   AL-AWDA THE            1000   POVERTY
CHARITABLE FDN                          PALESTINE RIGHT TO
INC NATIONAL                            RETURN COALITION
CHRISTIAN FDN
PACIFICA             204733627   2013   Brown University       1650   Students for Justice in Palestine
FOUNDATION
THE CALIFORNIA       954523232   2017   ISLAH                 25000   PALESTINIAN YOUTH MOVEMENT -
ENDOWMENT                                                             STRENGTHENING REFUGEE YOUTH HEALTH:
                                                                      TO PROMOTE HEALTH AND WELLNESS
                                                                      THROUGH YOUTH DEVELOPMENT,
                                                                      MENTORING, THE ARTS, CROSS-CULTURAL
                                                                      COMMUNITY BUILDING, SOCIAL JUSTICE
                                                                      EDUCATION AND COMMUNITY ACTIVISM
                                                                      WITHIN SAFE AND SUPPORTIVE SPACES FOR
                                                                      ARAB IMMIGRANT AND REFUGEE YOUTH IN
                                                                      SAN DIEGO.
THE SALEM FAMILY     263476718   2016   PALESTINE LEGAL        5000   SUPPORT OF SEC. 501(C)(3) ORGANIZATION
FOUNDATION INC
OHRSTROM             546039966   2019   PALESTINE LEGAL       10000   GENERAL OPERATING SUPPORT
FOUNDATION INC
C/O PKF
O'CONNOR
DAVIES LLP
BERGER FAMILY        472357665   2020   PALESTINE LEGAL        2500   CHARITABLE PURPOSE OF ORGANIZATION
FOUNDATION
MAXIMUM              331127669   2021   PALESTINE LEGAL       35000   GENERAL SUPPORT
DIFFERENCE
FOUNDATION
THE SPARKPLUG        331033952   2019   PALESTINE LEGAL        5000   GENERAL SUPPORT
FOUNDATION
The Shana            204227171   2021   PALESTINE LEGAL         500   UNRESTRICTED GRANT FOR DONEES EXEMPT
Alexander                                                             PURPOSE
Charitable
Foundation
ALALUSI              912158518   2021   PALESTINE LEGAL        5000   HUMANITARIAN ANDCHARITABLEASSISTANCE
FOUNDATION
THE SALEM FAMILY     263476718   2015   PALESTINE LEGAL        5000   SUPPORT OF SEC. 501(C)(3) ORGANIZATION
FOUNDATION INC
KIBLAWI              263899795   2022   PALESTINE LEGAL        5000   GENERAL OPERATION
FOUNDATION
NATL CHRISTIAN       581493949   2018   PALESTINE LEGAL        5000   JUSTICE
CHARITABLE FDN                          (TIDES CENTER)
INC NATIONAL
CHRISTIAN FDN
ARC OF JUSTICE       841618483   2022   PALESTINE LEGAL       20000   GENERAL SUPPORT
                                        TIDES


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ARC OF JUSTICE      841618483   2020   PALESTINE LEGAL         10000    GENERAL SUPPORT
                                       TIDES
THE SALEM FAMILY    263476718   2018   Palestine Legal Tides    1000    SUPPORT OF SEC. 501(C)(3) ORGANIZATION
FOUNDATION INC                         Center
PACIFICA            204733627   2018   TIDES CENTER             2500    PALESTINE LEGAL
FOUNDATION
PACIFICA            204733627   2019   TIDES CENTER             2500    PALESTINE LEGAL
FOUNDATION
LANNAN              366062451   2020   TIDES CENTER              400    PALESTINE LEGAL
FOUNDATION
MAXIMUM             331127669   2022   TIDES CENTER            50000    GENERAL SUPPORT FOR PALESTINE LEGAL
DIFFERENCE
FOUNDATION
LANNAN              366062451   2022   TIDES CENTER            125000   PALESTINE LEGAL
FOUNDATION
ROCKEFELLER         131760106   2022   TIDES CENTER            75000    FOR ITS PROJECT, PALESTINE LEGAL
BROTHERS FUND
INC
ROCKEFELLER         131760106   2020   TIDES CENTER            75000    FOR ITS PALESTINE LEGAL PROJECT
BROTHERS FUND
INC
ROCKEFELLER         131760106   2021   TIDES CENTER            75000    FOR ITS PROJECT, PALESTINE LEGAL
BROTHERS FUND
INC
LANNAN              366062451   2020   TIDES CENTER            100000   PALESTINE LEGAL
FOUNDATION
Solidaire Network   842130536   2022   Tides Center            55000    General Support for 501(c)(3) activities for
Inc                                                                     Palestine Legal
LANNAN              366062451   2021   TIDES CENTER            125000   PALESTINE LEGAL
FOUNDATION
THE MORRISON &      943006979   2022   TIDES CENTER            15500    1488 THE MARIA FUND - FIONA COMMUNITY
FOERSTER                                                                RESPONSE FUND, 1448 THE LAWYERING
FOUNDATION                                                              PROJECT, PALESTINE LEGAL
THE SHANA           204227171   2018   TIDES CENTER -            500    UNRESTRICTED GRANT FOR DONEES EXEMPT
ALEXANDER                              PALESTINE LEGAL                  PURPOSE
CHARITABLE
FNDTN
THE SPARKPLUG       331033952   2019   TIDES CENTER -          10000    GENERAL SUPPORT
FOUNDATION                             PALESTINE LEGAL
THE SHANA           204227171   2017   TIDES CENTER -            500    UNRESTRICTED GRANT FOR DONEES EXEMPT
ALEXANDER                              PALESTINE LEGAL                  PURPOSE
CHARITABLE
FNDTN
Padosi Foundation   473227718   2016   Tides Center -          12000    TO PROTECT THE RIGHTS OF PEOPLE IN THE
                                       Palestine Legal                  U.S. WHO SPEAK OUT FOR PALESTINIAN
                                                                        FREEDOM
PADOSI              473227718   2017   TIDES CENTER -          10000    TO PROTECT THE RIGHTS OF PEOPLE IN THE
FOUNDATION                             PALESTINE LEGAL                  U.S. WHO SPEAK OUT FOR PALESTINIAN
                                                                        FREEDOM
CHARLES             222859862   2022   TIDES CENTER -            500    PROGRAM SUPPORT
MOSESIAN FAMILY                        PALESTINE LEGAL
FOUNDATION
ARAB COMMUNITY      237444497   2021   TIDES CENTER -          20000    DONOR DIRECT FUND DISTRIBUTION
CENTER FOR                             PALESTINE LEGAL
ECONOMIC AND
SOCIAL SERVICES
ACCESS



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PADOSI              473227718   2020   TIDES CENTER -         40000   TO PROTECT THE RIGHTS OF PEOPLE IN THE
FOUNDATION                             PALESTINE LEGAL                U.S. WHO SPEAK OUT FOR PALESTINIAN
                                                                      FREEDOM
PADOSI              473227718   2018   TIDES CENTER -         20000   TO PROTECT THE RIGHTS OF PEOPLE IN THE
FOUNDATION                             PALESTINE LEGAL                U.S. WHO SPEAK OUT FOR PALESTINIAN
                                                                      FREEDOM
FIREDOLL            943301999   2022   TIDES CENTER 1109      25000   PALESTINE LEGAL SUPPORT
FOUNDATION                             PALESTINE LEGAL
IMPACTASSETSINC     262048480   2022   TIDES CENTER FBO       15000   GENERAL SUPPORT
                                       PALESTINE LEGAL
Solidaire Network   842130536   2020   Tides Center for       80000   General Support for 501c3 activities for
Inc                                    Palestine Legal                Palestine Legal
BERGER FAMILY       472357665   2022   Tides Center           2500    For Charitable Purpose of Organization
FOUNDATION                             Palestine Legal
CARL LESNOR         461611644   2022   TIDES CENTER           32000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERNSHIP PROGRAM
FOUNDATION
CARL LESNOR         461611644   2019   TIDES CENTER           30000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERNSHIP PROGRAM
FOUNDATION
CARL LESNOR         461611644   2017   TIDES CENTER           28000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERENSHIP PROGRAM
FOUNDATION
FIREDOLL            943301999   2018   TIDES CENTER           20000   GENERAL SUPPORT
FOUNDATION                             PALESTINE LEGAL
CARL LESNOR         461611644   2020   TIDES CENTER           30000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERNSHIP PROGRAM
FOUNDATION
CARL LESNOR         461611644   2018   TIDES CENTER           25000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERNSHIP PROGRAM
FOUNDATION
FIREDOLL            943301999   2019   TIDES CENTER           45000   PALESTINE LEGAL SUPPORT
FOUNDATION                             PALESTINE LEGAL
CARL LESNOR         461611644   2021   TIDES CENTER           30000   TO SUPPORT THE DEVELOPOMENT OF LEGAL
FAMILY                                 PALESTINE LEGAL                INTERNSHIP PROGRAM
FOUNDATION
ARAB COMMUNITY      237444497   2019   TIDES CENTER-          10000   DONOR DIRECT FUND DISTRIBUTION
CENTER FOR                             PALESTINE LEGAL
ECONOMIC AND
SOCIAL SERVICES
ACCESS
Network for Good    680480736   2014   Tides Center           5862    Unrestricted
                                       Palestine Solidarity
                                       Legal Support
MAXIMUM             331127669   2018   TIDES CENTER-          7500    ADVANCE PROGRESSIVE POLICY
DIFFERENCE                             PALESTINE SOLID
FOUNDATION                             LEGAL
MAXIMUM             331127669   2017   TIDES CENTER-          65000   ADVANCE PROGRESSIVE POLICY
DIFFERENCE                             PALESTINE SOLID
FOUNDATION                             LEGAL
MAXIMUM             331127669   2019   TIDES CENTER-          12500   ADVANCE PROGRESSIVE POLICY
DIFFERENCE                             PALESTINE SOLID
FOUNDATION                             LEGAL
SAM K HINDY         823042758   2021   TIDES CTR              2000    SUPPORT OF ORGANIZATION'S PROGRAM
FOUNDATION INC                         PALESTINE LEGAL
SAM K HINDY         823042758   2019   TIDES CTR              1000    SUPPORT OF ORGANIZATION'S PROGRAM
FOUNDATION INC                         PALESTINE LEGAL



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SAM K HINDY      823042758   2020   TIDES CTR               500    SUPPORT OF ORGANIZATION'S PROGRAM
FOUNDATION INC                      PALESTINE LEGAL
THE VIOLET       137560427   2019   TIDES FOUNDATION       15000   TO SUPPORT THE PALESTINE LEGAL CHICAGO
JABARA                                                             FOR PRODUCING REPORT.
CHARITABLE
TRUST C/O
STEVEN J WOHL
ESQ
THE SPARKPLUG    331033952   2018   TIDES FOUNDATION       10000   PALESTINE LEGAL
FOUNDATION
MILTON A &       341467089   2022   WESPAC                 1000    PROGRESSIVE SOCIAL CHANGE
CHARLOTTE R
KRAMER
CHARITABLE
FOUNDATION
THE SPARKPLUG    331033952   2015   WESPAC - Freedom       15000   Funds will help us formalize our alliance of
FOUNDATION                          Food Alliance                  farmers, organizers, students, prisoners and
                                                                   prison families and purchase a green vehicle
                                                                   that will provided transportation and food to
                                                                   familiesfriend of people incarcerated.
THE SPARKPLUG    331033952   2015   WESPAC - IJAN          4000    IJAN would use Sparkplug funding to print and
FOUNDATION                                                         tour our just released and highly acclaimed
                                                                   120 page report, The Business of Backlash: The
                                                                   Attack on the Palestinian and Other
                                                                   Movements for Justice, and to complete and
                                                                   print an accessible primer on the politics and
                                                                   history of Jewish anti-Zionism.
THE SPARKPLUG    331033952   2022   WESPAC - NATIONAL      20000   GENERAL SUPPORT
FOUNDATION                          STUDENTS FOR JUST
THE SPARKPLUG    331033952   2015   WESPAC - Palestinian   12000   This summer, PYM will host the first ever
FOUNDATION                          Youth Movement                 "Youth Leadership Summer School:
                                                                   Palestinian and Arab Youth Transforming
                                                                   Theory into Practice." The school is a seven day
                                                                   long intensive program in Riverside, CA and
                                                                   includes political education, cultural
                                                                   empowerment and organizational training.
THE SPARKPLUG    331033952   2015   WESPAC -               6000    A program created by three inmates at Eastern
FOUNDATION                          Transforming Lives             Prison to help other inmates get in
                                                                   rehabilitation and journal about it so that they
                                                                   have a record of their activities when they go
                                                                   before the parole board and then go for jobs.
                                                                   Currently rehab is not happening, for most,
                                                                   because of prison politics.
Greater          237343119   2022   Wespac Fdn Inc         20000   General Support
Washington
Community
Foundation
KIBLAWI          263899795   2022   WESPAC FOR NAT'L        500    GENERAL OPERATION
FOUNDATION                          STUDENTS FOR
                                    JUSTICE
ELIAS            134092287   2019   WESPAC FOUDATION       40000   10K SOCIAL FORUM $30K GENERAL
FOUNDATION                                                         OPERATING
ELIAS            134092287   2019   WESPAC FOUDATION       2000    GENERAL OPERATING-GALA
FOUNDATION
COMMON           943214166   2022   WESPAC                 35000   PROJECT SUPPORT FOR SWEET FREEDOM
COUNSEL                             FOUNDATION                     FARM
FOUNDATION



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NATIONAL DAY       208802586   2022   WESPAC Foundation   22000   Support
LABORER
ORGANIZING
NETWORK
MILTON A &         341467089   2019   WESPAC              2000    ADVOCACY FOR SOCIAL CHANGE
CHARLOTTE R                           FOUNDATION
KRAMER
CHARITABLE
FOUNDATION
THE BAFRAYUNG      832811578   2022   WESPAC              20000   PALESTINIAN YOUTH MOVEMENT
FUND                                  FOUNDATION
SAMIR AND GRACE    472654347   2017   WESPAC               200    FOR OPERATIONS SUPPORT - 2017 SUMMER
TUMA                                  FOUNDATION                  SCHOOL
FOUNDATION
THE SPARKPLUG      331033952   2018   WESPAC              10000   US PALESTINIAN COMMUNITY NETWORK-
FOUNDATION                            FOUNDATION                  USPCN
THE VIOLET         137560427   2017   WESPAC              15000   TO EDUCATE, AGITATE AND ORGANIZE FOR A
JABARA                                FOUNDATION                  MORE JUST AND PEACEFUL WORLD, AN END
CHARITABLE                                                        TO MILITARISM AND RACISM AND A MORE
TRUST C/O                                                         FAIR ECONOMY THAT WORKS FOR ALL.
STEVEN J WOHL
ESQ
NATL CHRISTIAN     581493949   2014   WESPAC              1000    SOCIAL, CIVIC AND PUBLIC POLICY
CHARITABLE FDN                        FOUNDATION
INC NATIONAL
CHRISTIAN
CHARITABLE FDN
ELIAS              134092287   2020   WESPAC              3500    FOOD PROGRAM GENERAL OPERATING
FOUNDATION                            FOUNDATION
PACIFICA           204733627   2014   Wespac Foundation    500    LEAP
FOUNDATION
PACIFICA           204733627   2019   WESPAC              1000    LEAP
FOUNDATION                            FOUNDATION
MAXIMUM            331127669   2015   WESPAC              10000   SUPPORT WESTCHESTER COMMUNITY
DIFFERENCE                            FOUNDATION
FOUNDATION
THE SPARKPLUG      331033952   2020   WESPAC Foundation   15000   general support of Adalah-NY
FOUNDATION
ELIAS              134092287   2021   WESPAC              5000    GENERAL OPERATING
FOUNDATION                            FOUNDATION
THE SPARKPLUG      331033952   2015   WESPAC Foundation    300    general support of Adalah-NY
FOUNDATION
PACIFICA           204733627   2013   Wespac Foundation    500    LEAP
FOUNDATION
Hope and Justice   451066280   2015   WESPAC Foundation    500    To provide financial support.
Educational
Foundation
Hope and Justice   451066280   2014   WESPAC Foundation   1000    To provide financial support.
Educational
Foundation
OPEN SOCIETY       137029285   2012   WESPAC Foundation   20700   Matching Gifts
INSTITUTE
UNITED WAY OF      131997636   2013   WESPAC                      CONSTITUENCY SERVICES
WESTCHESTER                           FOUNDATION
AND PUTNAM INC
PACIFICA           204733627   2013   Wespac Foundation    500    NISCVT winterization
FOUNDATION



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THE HARTMAN         357103482   2017   WESPAC               160    CIVIC & RELIGIOUS ADVOCATION
FAMILY                                 FOUNDATION
FOUNDATION
THE SPARKPLUG       331033952   2013   WESPAC Foundation   5000    general support of Adalah-NY
FOUNDATION
PAYPAL Charitable   450931286   2022   WESPAC Foundation   38778   GENERAL SUPPORT
Giving Fund
THE SPARKPLUG       331033952   2014   WESPAC Foundation   20400   general support of Adalah-NY
FOUNDATION
COMMON              943214166   2021   WESPAC              25000   PROJECT SUPPORT FOR SWEET FREEDOM
COUNSEL                                FOUNDATION                  FARM
FOUNDATION
PACIFICA            204733627   2016   Wespac Foundation   1000    LEAP
FOUNDATION
EL-GAOUNY & LEE     854018679   2022   WESPAC              5000    CHARITABLE CONTRIBUTION
FOUNDATION                             FOUNDATION
THE SPARKPLUG       331033952   2017   WESPAC Foundation   5000    general support of Adalah-NY
FOUNDATION
ELIAS               134092287   2021   WESPAC              50000   GENERAL OPERATING
FOUNDATION                             FOUNDATION
MARION AND          527030006   2023   WESPAC               950    EDUCATE FOR A MORE PEACEFUL WORLD
HUGH OAKLEY                            FOUNDATION
FAMILY
FOUNDATION INC
GRASSROOTS          42791159    2019   WESPAC              10000   INT'L LAW/HUMAN RIGHTS
INTERNATIONAL                          FOUNDATION
INC
ELIAS               134092287   2022   WESPAC              60000   GENERAL OPERATING
FOUNDATION                             FOUNDATION
ALALUSI             912158518   2022   WESPAC              6300    HUMANITARIAN AND CHARITABLE
FOUNDATION                             FOUNDATION                  ASSISTANCE
EL-GAOUNY & LEE     854018679   2021   WESPAC              3000    CHARITABLE CONTRIBUTION
FOUNDATION                             FOUNDATION
PACIFICA            204733627   2018   WESPAC              1000    LEAP
FOUNDATION                             FOUNDATION
THE SPARKPLUG       331033952   2012   WESPAC Foundation   5000    support a cross-movement delegation to the
FOUNDATION                                                         World Social Forum Free Palestine in Brazil to
                                                                   build joint struggle between US grassroots
                                                                   movements and the Palestinian grassroots
                                                                   movement.
CITIZENS            202302039   2022   WESPAC               200    MATCHING GIFT
CHARITABLE                             FOUNDATION INC
FOUNDATION
MORGAN STANLEY      527082731   2020   WESPAC              50000   UNRESTRICTED GENERAL SUPPORT
GLOBAL IMPACT                          FOUNDATION INC
FUNDING TRUST
INC
AMALGAMATED         821517696   2022   WESPAC              13000   GENERAL OPERATING SUPPORT
CHARITABLE                             FOUNDATION INC
FOUNDATION INC
FIDELITY            110303001   2016   WESPAC              6000    For grant recipient's exempt purposes
INVESTMENTS                            FOUNDATION INC
CHARITABLE GIFT
FUND
VOS FAMILY          770440191   2023   WESPAC              5000    IN FURTHERANCE OF 501(C)(3) EXEMPT
FOUNDATION                             FOUNDATION INC              PURPOSE.




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Groundswell Fund   474003615   2017   WESPAC Foundation   12500
                                      Inc
MORGAN STANLEY     527082731   2021   WESPAC              50000    UNRESTRICTED GENERAL SUPPORT
GLOBAL IMPACT                         FOUNDATION INC
FUNDING TRUST
INC
Network for Good   680480736   2018   WESPAC              31060    Unrestricted
                                      FOUNDATION INC
Cultures of        203587464   2018   WESPAC               5000    General & Unrestricted
Resistance                            FOUNDATION INC
Network
Foundation
TIDES CENTER       943213100   2022   WESPAC              35000    EQUITY, HUMAN RIGHTS, AND ECONOMIC
                                      FOUNDATION INC               EMPOWERMENT
Cultures of        203587464   2018   WESPAC               1000    Beit Atfal Assumoud
Resistance                            FOUNDATION INC
Network
Foundation
THE COMMUNITY      581344646   2020   WESPAC              15000    CIVIL RIGHTS/SOCIAL ACTION/ADVOCACY
FOUNDATION FOR                        FOUNDATION INC
GREATER ATLANTA
INC
FIDELITY           110303001   2021   WESPAC              17000    For grant recipient's exempt purposes
INVESTMENTS                           FOUNDATION INC
CHARITABLE GIFT
FUND
Groundswell Fund   474003615   2021   WESPAC Foundation   20000    Program Support
                                      Inc
Network for Good   680480736   2019   WESPAC              16805    Unrestricted
                                      FOUNDATION INC
ROCKEFELLER        133615533   2022   WESPAC              90000    GENERAL
PHILANTHROPY                          FOUNDATION INC
ADVISORS INC
TIDES              510198509   2022   WESPAC              97000    HEALTHY INDIVIDUALS AND COMMUNITIES
FOUNDATION                            FOUNDATION INC
FIDELITY           110303001   2019   WESPAC               7425    For grant recipient's exempt purposes
INVESTMENTS                           FOUNDATION INC
CHARITABLE GIFT
FUND
ROCKEFELLER        133615533   2021   WESPAC              80000    GENERAL
PHILANTHROPY                          FOUNDATION INC
ADVISORS INC
RACE FORWARD       942759879   2022   WESPAC              10000    TO SUPPORT ADVANCEMENT OF RACIALLY
                                      FOUNDATION INC               EQUITABLE POLICY ON IMMIGRATION AND
                                                                   CRIMINAL JUSTICE
Eutopia            473998424   2022   WESPAC              550000   General & Unrestricted
Foundation                            FOUNDATION INC
AMAZONSMILE        462626883   2022   WESPAC                 11    GENERAL SUPPORT
FOUNDATION                            FOUNDATION INC
AMAZONSMILE        462626883   2020   WESPAC                 18    GENERAL SUPPORT
FOUNDATION                            FOUNDATION INC
MUTUAL OF          133443360   2016   WESPAC               5000    MATCHING GIFT TO IRC SEC. 501 (C) (3)
AMERICA                               FOUNDATION INC               ORGANIZATION
FOUNDATION
AMAZONSMILE        462626883   2021   WESPAC                 16    GENERAL SUPPORT
FOUNDATION                            FOUNDATION INC




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AMERICAN          341747398   2016   WESPAC                5685    PROGRAMS
ENDOWMENT                            FOUNDATION INC
FOUNDATION
THE BAFRAYUNG     832811578   2020   WESPAC                15000   GENERAL OPERATING
FUND                                 FOUNDATION PYM
THE BAFRAYUNG     832811578   2021   WESPAC                15000   GENERAL OPERATING
FUND                                 FOUNDATION PYM
THE DILMAGHANI    136159975   2014   WESPAC                6000    AN UNRESTRICTED CONTRIBUTION TO ASSIST
FOUNDATION                           FOUNDATIONINC                 THEM WITH THEIR ACTIVITIES
THE DILMAGHANI    136159975   2013   WESPAC                5000    AN UNRESTRICTED CONTRIBUTION TO ASSIST
FOUNDATION                           FOUNDATIONINC                 THEM WITH THEIR ACTIVITIES
Amin & Rubina     836310899   2019   American Muslim for    100    Charitable Contribution
Chikhalia                            Palestine
Foundation
THE DFL           260900879   2015   AMERICAN MUSLIMS       500    CHARITY
FOUNDATION                           FOR PALESTINE
Amin & Rubina     836310899   2022   AMERICAN MUSLIM        100    GIFT
Chikhalia                            FOR PALESTINE
Foundation
THE FARHAN        383533248   2011   AMERICAN MUSLIM-       500    CHRITABLE
FOUNDATION                           PALESTINE
BARZINJI FAMILY   462035823   2018   AMERICAN MUSLIMS      5000    PROGRAM SUPPORT - COMMUNITY SERVICES
FOUNDATION                           FOR PALESTINE
ALALUSI           912158518   2022   AMERICAN MUSLIMS      3000    HUMANITARIAN AND CHARITABLE ASSITANCE
FOUNDATION                           FOR PALESTINE
THE DFL           260900879   2016   AMERICAN MUSLIMS       500    CHARITY
FOUNDATION                           FOR PALESTINE
THE BENJAMIN      841618483   2016   AMERICAN MUSLIMS      3500    GENERAL SUPPORT
FUND INC                             FOR PALESTINE
BARZINJI FAMILY   462035823   2020   AMERICAN MUSLIM       10000   PROGRAM SUPPORT -
FOUNDATION                           FOR PALESTINE                 SOCIAL/HUMANITARIAN SERVICES
Amin & Rubina     836310899   2021   AMERICAN MUSLIM        100    Gift
Chikhalia                            FOR PALESTINE
Foundation
THE LIGHT OF      300069735   2015   AMERICAN MUSLIM       1000    CHARITY
HOPE                                 FOR PALESTINE
FOUNDATION                           (AMP)
BARZINJI FAMILY   462035823   2021   AMERICAN MUSLIM       5000    PROGRAM SUPPORT -
FOUNDATION                           FOR PALESTINE                 SOCIAL/HUMANITARIAN SERVICES




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